Case 2:20-cv-01231-ART-NJK            Document 54         Filed 05/02/25        Page 1 of 2



 1

 2

 3

 4

 5

 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9    NICHOLAS GULLI,
                                                         CASE NO.: 2:20-cv-01231-ART-NJK
10                   Plaintiff,
                                                         ORDER GRANTING
11           vs.
                                                         STIPULATION TO CONTINUE
12    UNITED STATES OF AMERICA,                          HEARING ON MOTION TO DISMISS
                                                         (ECF NO. 47)
13                   Defendants.                         (FIRST REQUEST)

14

15          IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff NICHOLAS

16   GULLI, by and through his counsel of record Jason D. Guinasso of GGRM Law Firm, and

17   Defendant United States of America, by and through its counsel of record Karissa D. Neff of

18   United States Attorney, that the Hearing re Defendant United States’ Renewed Motion to

19   Dismiss (ECF No. 47) scheduled for May 8, 2025 (ECF No. 51) be moved to a future date

20   convenient for the Court and the parties.

21                  1.      On March 13, 2025, the Court filed a Minute Order in Chambers

25   scheduling the Oral Argument on ECF No. 47 Defendant United States’ renewed Motion to

26   Dismiss and set the matter for Thursday, May 8, 2025, at 2:30p.m (ECF No. 51).

27                  2.      Counsel for Plaintiff has a calendaring conflict.

28

                                                     1
Case 2:20-cv-01231-ART-NJK            Document 54         Filed 05/02/25    Page 2 of 2



 1                    3.    Specifically, Counsel has more than one hearing set at the same time on

 2   the same date.

 3                    4.    The parties agree to email the department to select a mutually agreed

 4   upon date based on the Court’s calendar should the Court grant this continuance.

 5                    5.    This is the first request for such a continuance and it is made in good

 6   faith and not for the purposes of delay.

 7                    IT IS SO STIPULATED this 29th day of April, 2025.

 8
     DATED this 29th day of April, 2025.                DATED this 29th day of April, 2025.
 9
     GGRM LAW FIRM                                      UNITED STATES ATTORNEY
10

11   By: /s/ Jason D. Guinasso                          By: /s/ Karissa D. Neff
     JASON D. GUINASSO, ESQ.                            KARISSA D. NEFF, ESQ.
12   Nevada Bar No. 8478                                Nevada Bar No.: 9133
     BRENOCH R. WIRTHLIN, ESQ.                          501 Las Vegas Blvd. So Ste 100
13   Nevada Bar No. 10282                               Las Vegas Nevada 89101
     2770 S. Maryland Parkway, Suite 100                Attorneys for Defendants,
14   Las Vegas, Nevada 89109                            United States
     Attorneys for Plaintiff
15

16                                              ORDER

17

18          IT IS SO ORDERED.

19

20
                                                  Anne R. Traum
21                                                United States District Judge

25                                                DATED: May 2, 2025

26

27

28

                                                    2
